      Case 6:20-cv-00835-ADA-DTG Document 119 Filed 12/04/23 Page 1 of 3




                           IN THE UNITED STATES DISTRICT COURT
                            FOR THE WESTERN DISTRICT OF TEXAS
                                      WACO DIVISION



 JEFFREY MADISON,                                               §
                                                                §
 Plaintiff,                                                     §
                                                                §
 v.                                                             §     Case No. 6:20-CV-835-ADA-DTG
                                                                §
 HEALTH CARE SERVICE                                            §
 CORPORATION, d/b/a BLUE CROSS AND                              §
 BLUE SHIELD OF TEXAS,                                          §
                                                                §
 Defendant.                                                     §
                                                                §

                                        JOINT STATUS REPORT

        Pursuant to Magistrate Judge Gilliland’s March 10, 2023 Order (Dkt. 115), Plaintiff Jeffrey

Madison and Defendant Blue Cross and Blue Shield of Texas (“BCBSTX”) respectfully submit

this joint status update regarding Mr. Madison’s indictment, which is captioned United States v.

Hertzberg, No. 6:22-cv-00003-JDK-JDL (E.D. Tex.) (the “Criminal Case”).

        On November 30, 2023, a jury found Mr. Madison and his four remaining co-defendants1

guilty of conspiracy to commit illegal remunerations in violation of 18 U.S.C. § 371. Criminal

Case, Dkt. 1020.2 The parties will file another status update in 90 days to apprise the Court of

further developments.




1
  Mr. Madison’s 11 other indicted co-conspirators pleaded guilty prior to trial. See Criminal Case, Dkts. 728, 741,
760, 819, 820, and 821.
2
  See also Press Release, Five defendants convicted of health care kickback conspiracy, Department of Justice
available at: https://www.justice.gov/usao-edtx/pr/five-defendants-convicted-health-care-kickback-conspiracy (last
visited 12/4/2023)


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   Case 6:20-cv-00835-ADA-DTG Document 119 Filed 12/04/23 Page 2 of 3




Dated: December 5, 2023                     Respectfully submitted,


By:    /s/ Ryan Downton                     By:    /s/ Brian P. Kavanaugh
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                                            of Texas




                                        2
           Case 6:20-cv-00835-ADA-DTG Document 119 Filed 12/04/23 Page 3 of 3




                                  CERTIFICATE OF SERVICE


       I hereby certify that a true and correct copy of the foregoing document was served on all counsel

of record by electronically filing it with the Clerk of the Court using the CM/ECF system on December

5, 2023.


                                                     /s/ Brian P. Kavanaugh
